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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


   CHROMADEX, INC. and TRUSTEES
   OF DARTMOUTH COLLEGE,

                       Plaintiffs,
                                                 Civil Action No. 18-1434-CFC
                v.

   ELYSIUM HEALTH, INC.,

                       Defendant.


        PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT OF
   INFRINGEMENT OF CLAIMS 1 AND 3 OF U.S. PATENT NO. 8,197,807
                        (MOTION NO. 1)

        Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs ChromaDex, Inc.

  and Trustees of Dartmouth College respectfully move for summary judgment of

  infringement of claims 1 and 3 of U.S. Patent No. 8,197,807. The grounds for

  Plaintiffs’ motion are set forth in their brief in support filed concurrently herewith.

  A proposed order is attached.
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   Dated: April 27, 2021                   Respectfully submitted,

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                            CERTIFICATE OF SERVICE
        I, Adam W. Poff, hereby certify that on April 27, 2021, I caused to be

  electronically filed a true and correct copy of the foregoing document with the Clerk

  of the Court using CM/ECF, which will send notification that such filing is available

  for viewing and downloading to the following counsel of record:

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        I further certify that on April 27, 2021, I caused the foregoing document to be

  served via electronic mail upon the above-listed counsel.

  Dated: April 27, 2021                   YOUNG CONAWAY STARGATT &
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